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  7                          UNITED STATES DISTRICT COURT
  8                        CENTRAL DISTRICT OF CALIFORNIA
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 10   DIGITECH IMAGE TECHNOLOGIES,               Case No. 8:12-cv-1688-ODW(MRWx)
      LLC,
 11                                              JUDGMENT
                          Plaintiff,
 12         v.
 13   NEWEGG, INC. et al.,
 14                       Defendants.
 15
 16        In light of the Court’s Order Granting Motion for Summary Judgment (Digitech
 17   Image Techs., LLC v. Elecs. for Imaging, Inc., No. 8:12-cv-1324-ODW(MRWx)
 18   (C.D. Cal. July 31, 2013) (ECF No. 88)) and the parties’ representations in their
 19   August 5, 2013 Joint Status Report (Id. (ECF No. 90)), IT IS HEREBY ORDERED:
 20        1. Plaintiff Digitech Image Technologies, LLC shall take nothing;
 21        2. Judgment for each of the Defendants in this and the related cases as listed
 22              below:
 23              a. Electronics for Imaging, Inc. (8:12-cv-1324-ODW(MRWx));
 24              b. Buy.Com, Inc. (8:12-cv-1668-ODW(MRWx));
 25              c. B and H Foto and Electronics Corp. (8:12-cv-1671-ODW(MRWx));
 26              d. Sakar International, Inc. (8:12-cv-1673-ODW(MRWx));
 27              e. Mamiya Digital Imaging Co., Ltd.; Leaf Imaging, Ltd.; Mamiya America
 28                Corp. (8:12-cv-1675-ODW(MRWx));
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  1           f. Leica Camera AG; Leica Camera, Inc. (8:12-cv-1677-ODW(MRWx));
  2           g. Fujifilm Corp. (8:12-cv-1679-ODW(MRWx));
  3           h. General Imaging Co. (8:12-cv-1680-ODW(MRWx));
  4           i. Sigma Corp.; Sigma Corp. of America (8:12-cv-1681-ODW(MRWx));
  5           j. Micro Electronics, Inc. (8:12-cv-1686-ODW(MRWx));
  6           k. Overstock.com, Inc. (8:12-cv-1687-ODW(MRWx));
  7           l. Newegg, Inc.; Newegg.com, Inc. (8:12-cv-1688-ODW(MRWx));
  8           m. Pentax Ricoh Imaging Co., Ltd.; Pentax Ricoh Imaging Americas Corp.;
  9              Ricoh Co., Ltd.; Ricoh Americas Corp. (8:12-cv-1689-ODW(MRWx));
 10           n. Xerox Corp. (8:12-cv-1693-ODW(MRWx));
 11           o. Konica     Minolta      Business       Solutions   USA,   Inc.   (8:12-cv-1694-
 12              ODW(MRWx));
 13           p. CDW LLC (8:12-cv-1695-ODW(MRWx));
 14           q. Victor     Hasselblad     AB;      Hasselblad      USA,   Inc.   (8:12-cv-1696-
 15              ODW(MRWx));
 16           r. Casio Computer Co. Ltd.; Casio America, Inc. (8:12-cv-1697-
 17              ODW(MRWx));
 18           s. Asus Computer International; Asustek Computer, Inc. (8:12-cv-2122-
 19              ODW(MRWx));
 20           t. Toshiba Corp.; Toshiba America, Inc.; Toshiba America Business
 21              Solutions, Inc.; Toshiba America Information Systems, Inc. (8:12-cv-
 22              2127-ODW(MRWx));
 23        3. The Clerk of Court shall close this case.
 24        IT IS SO ORDERED.
 25        August 6, 2013
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 27                               ____________________________________
 28                                       OTIS D. WRIGHT, II
                                   UNITED STATES DISTRICT JUDGE



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